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9    UNITED STATES OF AMERICA
10                             UNITED STATES DISTRICT COURT
11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,                 No. 2:16-CR-729-JAK

13             Plaintiff,                      APRIL 3, 2025, GOVERNMENT’S STATUS
                                               REPORT
14                   v.

15   ALBERT BENJAMIN PEREZ,
     aka “Dragon,”
16
               Defendant.
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19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Derek R. Flores,
22   hereby files this status report in response to the Court’s order:
23        1.    According to defense counsel, he has requested hospital
24   records on behalf of defendant from three places whose records
25   appeared to be missing from the BOP records previously provided to
26   Dr. Sherman: (1) Glendale Adventist, (2) Axon Neurology, and (3)
27   White Memorial.
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1            2.    According to defense counsel, he received the hospital

2    records from Glendale Adventist and has forwarded them to Dr.

3    Sherman, his request is awaiting a response from Axon Neurology, and

4    he has not heard back from White Memorial.

5            3.    The government expects that any additional wait in

6    receiving the records from Axon Neurology and White Memorial

7    (government counsel is waiting to hear from defense counsel what that

8    expected wait is). 1 Once Dr. Sherman has those records, he should

9    have the records he needs for the evaluation.
10       Dated: April 3, 2025                Respectfully submitted,

11                                           BILAL S. ESSAYLI
                                             United States Attorney
12
                                             LINDSEY GREER DOTSON
13                                           Assistant United States Attorney
                                             Chief, Criminal Division
14

15                                                 /s/
                                             DEREK R. FLORES
16                                           Assistant United States Attorney

17                                           Attorneys for Plaintiff
                                             UNITED STATES OF AMERICA
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28   1 Government counsel intends to provide an updated status report with
     that information.
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